






						NO. 12-08-00045-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


MICHAEL WADE TANT,§
		APPEAL FROM THE 241ST

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Michael Wade Tant appeals his conviction for possession of a controlled substance with
intent to deliver.  He entered a plea of guilty without benefit of a plea bargain and the trial court
assessed punishment at sixty years of imprisonment.  Appellant's counsel filed a motion to withdraw
and a brief in support of that motion in compliance with Anders v. California, 386 U.S. 738, 87 S.
Ct. 1396, 18 L. Ed. 2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
Thereafter, Appellant filed a pro se brief.  We dismiss Appellant's appeal.


Analysis Pursuant to Anders v. California

	Appellant's counsel filed a brief in compliance with Anders and Gainous, stating that he is
well acquainted with the facts in this case and has diligently reviewed the appellate record.  In
compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978),
Appellant's brief presents a chronological summation of the procedural history of the case, and
further states that Appellant's counsel is of the opinion that the record reflects no reversible error and
counsel is unable to raise any arguable issues for appeal.  

	Appellant filed a pro se brief in which he raised issues concerning the presentence
investigation report, ineffective assistance of counsel, the voluntariness of his plea, and the trial
court's failure to comply with Texas Code of Criminal Procedure article 42.07.  We have considered
counsel's brief and Appellant's pro se brief and conducted our own independent review of the
record.  We have found no reversible error.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex.
Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991).  We are in agreement with Appellant's counsel that the appeal is wholly
frivolous.  Accordingly, his motion to withdraw is hereby granted, and we dismiss this appeal.  See
In re Schulman, 252 S.W.3d at 408-09.

	Counsel has a duty to, within five days of the date of this opinion, send a copy of the opinion
and judgment to Appellant and advise him of his right to file a petition for discretionary review.  See
Tex. R. App. P. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek
further review of this case by the Texas Court of Criminal Appeals, he must either retain an attorney
to file a petition for discretionary review or he must file a pro se petition for discretionary review. 
Any petition for discretionary review must be filed within thirty days from the date of this opinion
or the date the last timely motion for rehearing is overruled by this court.  See Tex. R. App. P. 68.2. 
Any petition for discretionary review must be filed with this court, after which it will be forwarded
to the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R.
App. P. 68.3.  Any petition for discretionary review should comply with the requirements of Rule
68.4 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4; In re Schulman, 252
S.W.3d at 408 n.22.

Opinion delivered August 19, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)


